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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )
Lavrick Willocks, et. al.,                    )       Case No. 4:12-cr-175
                                              )
               Defendant.                     )


       On July 2, 2014, the Government filed a motion to correct the spelling of the name of

defendant number 10, misidentified in the Third Superseding Indictment as “Kimberly Carol-Jean

Hudson.” It states that a typographical error was made when drafting the Third Superseding

Indictment and that the proper spelling of defendant number 10’s name is Kimberly Carlo-Jean

Hudson.

       The court GRANTS the Government’s motion (Docket No. 412). Going forward defendant

number 10 shall be properly identified as Kimberly Carlo-Jean Hudson. The Clerk’s office shall

reissue the arrest warrant to reflect the corrected name.

       IT IS SO ORDERED.

       Dated this 3rd day of July, 2014.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
